Case 1:17-cr-00040-LJV-JJM Document 145 Filed 03/10/20 Page 1 of 4

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

LAWRENCE RUSSELL,

Petitioner,

17-CR-40
V. 18-CR-105

UNITED STATES OF AMERICA,

Respondent.

 

ORDER

 

The petitioner, Lawrence Russell, appearing pro se, has moved to vacate, set
aside, or correct his sentence of imprisonment in connection with his guilty pleas on July
26, 2018. More specifically, Russell pleaded guilty to conspiracy to possess with intent
to distribute and conspiracy to distribute at least 28 grams of cocaine base and failure to
appear after pre-trial release. Docket Items 132 (17-CR-40) and 29 (18-CR-105). Pro
se motions under 28 U.S.C. § 2255 are generally given a liberal reading “to raise the
strongest arguments that they suggest.” Green v. United States, 260 F.3d 78, 83 (2d
Cir. 2001 (quoting Graham v. Henderson, 89 F.3d 75, 79 (2d Cir. 1996)). Giving his
pleading that liberal reading, Russell asserts that his counsel was constitutionally
ineffective in three ways: (1) despite his instructions, counsel failed to timely appeal; (2)
counsel failed to object to the application of the two-level increase under United States
Sentencing Guidelines (“Guidelines”) section 2D1.1(b)(1) for possession of a dangerous

weapon; and (3) counsel failed to explain the Guidelines to Russell. /d.
Case 1:17-cr-00040-LJV-JJM Document 145 Filed 03/10/20 Page 2 of 4

In support of allegations (2) and (3) above, Russell states that he “mailed several
letters to the US Probation Office, and to this Honorable Court expressing the lack of
communication from counsel and his many concerns about several paragraphs in the
Presentencing [sic] Investigation Report to no avail.” Docket Item 132 at 9. In
response, the government moved for an order finding that Russell waived the attorney-
client privilege and compelling the production of correspondence. Docket Item 136. In
addition, the government sought an extension of time to file its response to Russell’s
motion.

Russell's assertions and the government's motion to find a waiver and to compel
put squarely in issue relevant attorney-client communications, and Russell has waived
the attorney-client privilege with respect to the attorney-client communications at issue.
See e.g., Sparman v. Edwards, 154 F.3d 51, 52 (2d Cir. 1998). Accordingly, to permit
the Court to rule on the petitioner's motion, including preliminarily whether an
evidentiary hearing is necessary, petitioner's counsel is hereby directed to respond to
the petitioner's assertions.

In that response, counsel should specifically address:

(1) whether on February 8, 2019, or any other date, Russell instructed counsel to
file an appeal on his behalf; if so, and if that communication was in writing,
counsel should provide a copy of any communication to the Court;

(2) whether counsel received from Russell written communications as described
in Docket Item 132 at 9 (footnote), or any other communication, expressing

Russell's concerns about the presentence investigation report;
Case 1:17-cr-00040-LJV-JJM Document 145 Filed 03/10/20 Page 3 of 4

(3) whether Russell instructed counsel to object to the application of the two-level
enhancement under Guidelines section 2D1.1(b)(1); if so, and if that
communication was in writing, counsel should provide a copy of any
communication to the Court; and

(4) whether counsel refused to object to the application of the two-level
enhancement under Guidelines section 2D1.1(b)(1); if so, and if that
communication was in writing, counsel should provide a copy of any
communication to the Court.

Russell's waiver of the attorney-client privilege does not otherwise waive
counsel’s obligations to keep his client’s confidences. See, e.g., Bernstein v. Bernstein
Litowitz Berger & Grossmann LLP, 814 F.3d 132, 145 (2d Cir. 2016). In an abundance
of caution and to protect confidentiality, counsel’s submissions therefore shall be
delivered to chambers for filing under seal, and the submissions shall remain under seal
until further order of the Court. Counsel for the government shall immediately serve a
copy of this order upon counsel by First Class mail and shall docket proof of mailing.
The Clerk of Court shall immediately mail a copy of this order to petitioner at the

address listed on the docket.
Case 1:17-cr-00040-LJV-JJM Document 145 Filed 03/10/20 Page 4 of 4

Counsel’s submissions are due by April 3, 2020. The government's request for
an extension of time to respond to Russell’s 2255 motion is granted. The Court will set

a schedule after it reviews counsel's submissions.

SO ORDERED.

Dated: March 10, 2020
Buffalo, New York

s/Lawrence J. Vilardo
LAWRENCE J. VILARDO
UNITED STATES DISTRICT JUDGE

 
